         Case 2:18-cv-04718-AB Document 100 Filed 01/31/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 WILLIAM GARCIA,                                 :
 for himself and all others                      :
 similarly situated,                             :
                 Plaintiff,                      :
                                                 :          CIVIL ACTION
                v.                               :          No. 18-4718
                                                 :
 VERTICAL SCREEN, INC.,                          :
           Defendants.                           :

                                             ORDER

AND NOW, this 31st day of January, 2022, it is ORDERED as follows:

            1. Vertical Screen’s Motion to Decertify the Conditionally Certified FLSA

               Collective (ECF No. 87) is DENIED.

            2. Plaintiffs’ Motion for Rule 23 Class / Final FLSA Certification (ECF No. 76) is

               granted in part and denied in part, as follows:

                     o The motion is GRANTED as to Plaintiffs’ motion for final FLSA

                        certification; and

                     o The motion is DENIED as to Plaintiffs’ motion for Rule 23 class

                        certification.



                                             _s/ANITA B. BRODY, J.____
                                             ANITA B. BRODY, J.
